                                                     Case 2:12-cv-08388-AB-FFM Document 48 Filed 06/14/13 Page 1 of 13 Page ID #:305



                                                      1   CAPSTONE LAW APC
                                                          Jordan L. Lurie (SBN 130013)
                                                      2   Jordan.Lurie@capstonelawyers.com
                                                          David L. Cheng (SBN 240926)
                                                      3   David.Cheng@capstonelawyers.com
                                                          Tarek H. Zohdy (SBN 247775)
                                                      4   Tarek.Zohdy@capstonelawyers.com
                                                          Cody R. Padgett (SBN 275553)
                                                      5   Cody.Padgett@capstonelawyers.com
                                                          1840 Century Park East, Suite 450
                                                      6   Los Angeles, California 90067
                                                          Tele: (310) 556-4811 / Fax: (310) 943-0396
                                                      7
                                                          Attorneys for Plaintiff
                                                      8
                                                          DYKEMA GOSSETT LLP
                                                      9   John M. Thomas (266842)
                                                          jthomas@dykema.com
                                                     10   Tamara A. Bush (197153)
                                                          tbush@dykema.com
                                                     11   Krista L. Lenart (admitted pro hac vice)
                     LOS ANGELES, CALIFORNIA 90071




                                                          klenart@dykema.com
                       333 SOUTH GRAND AVENUE
DYKEMA GOSSETT LLP




                                                     12   David M. George (admitted pro hac vice)
                                                          dgeorge@dykema.com
                              SUITE 2100




                                                     13   333 South Grand Avenue, Suite 2100
                                                          Los Angeles, CA 90071
                                                     14   Tele: (213) 457-1800 / Fax: (213) 457-1850
                                                     15   Attorneys for Defendant
                                                          FORD MOTOR COMPANY
                                                     16
                                                                                    UNITED STATES DISTRICT COURT
                                                     17
                                                                  CENTRAL DISTRICT OF CALIFORNIA—WESTERN DIVISION
                                                     18
                                                          OMAR VARGAS, individually, and on                 Case No.: 2:12-cv-08388 ABC (FFMx)
                                                     19
                                                          behalf of a class of similarly situated           Honorable Judge Audrey B. Collins
                                                     20   individuals,                                      Magistrate Judge Frederick F. Mumm
                                                     21                Plaintiff,                           CLASS ACTION
                                                     22         vs.                                         DISCOVERY MATTER
                                                     23   FORD MOTOR COMPANY,                               STIPULATION FOR PROTECTIVE
                                                                                                            ORDER; AND [PROPOSED]
                                                     24                Defendant.                           PROTECTIVE ORDER
                                                     25                                                     Note changes made by the Court
                                                     26

                                                     27

                                                     28


                                                                            STIPULATION FOR PROTECTIVE ORDER; [PROPOSED] PROTECTIVE ORDER
                                                     Case 2:12-cv-08388-AB-FFM Document 48 Filed 06/14/13 Page 2 of 13 Page ID #:306



                                                      1         Discovery in this action is likely to involve production of material that the
                                                      2   producing party contends is confidential, proprietary, or private information for
                                                      3   which special protection from public disclosure and from use for any purpose other
                                                      4   than prosecuting this litigation would be warranted, including but not limited to (1)
                                                      5   engineering documents, including design drawings and specifications, (2) test
                                                      6   documents and testing procedures; (3) manufacturing specifications and procedures;
                                                      7   (4) internal business or financial information; (5) confidential customer information;
                                                      8   and (6) any other similar proprietary, confidential, or private information, including
                                                      9   but not limited to trade secrets. A protective order is necessary for information in
                                                     10   categories (1), (2), (3) and (4) because the producing party operates in a highly
                                                     11   competitive, global marketplace and is dependent upon its technical and business
                     LOS ANGELES, CALIFORNIA 90071
                       333 SOUTH GRAND AVENUE
DYKEMA GOSSETT LLP




                                                     12   know-how to achieve and maintain a competitive advantage. Disclosure of this
                              SUITE 2100




                                                     13   information could result in serious and immediate competitive and economic harm.
                                                     14   Information in categories (5) and (6) may include such things as personally
                                                     15   identifying information, trade secrets not falling within one of the other categories,
                                                     16   and competitive intelligence, and must be protected for personal privacy or
                                                     17   competitive protection reasons. Because information produced in this case may be
                                                     18   shared with consulting and testifying experts, a private agreement between the parties
                                                     19   would not suffice, and a court order is required.
                                                     20         Therefore, to expedite the flow of discovery material, facilitate the prompt
                                                     21   resolution of disputes over confidentiality, adequately protect material entitled to be
                                                     22   kept confidential, and ensure that protection is afforded only to material so entitled,
                                                     23   the parties stipulate and agree to the following form of protective order:
                                                     24         1.     Scope of Order.       This Order is intended to facilitate the Parties’
                                                     25   production of information and documents as part of voluntary disclosure and in
                                                     26   response to discovery requests. Nothing in this Order is to be construed to expand or
                                                     27   limit the Parties’ discovery obligations. This Order covers the production and use of
                                                     28   all Protected Documents in this action that constitute, contain or disclose, in whole or
                                                                                                       2
                                                                                        STIPULATION FOR PROTECTIVE ORDER;
                                                                                          [PROPOSED] PROTECTIVE ORDER
                                                     Case 2:12-cv-08388-AB-FFM Document 48 Filed 06/14/13 Page 3 of 13 Page ID #:307



                                                      1   in part, information which the Designating Party designates as “Confidential.” This
                                                      2   Order is also intended to apply to any documents produced to the Parties by a non-
                                                      3   party in connection with a subpoena.
                                                      4          2.     General Definitions. For purposes of this Order, the following terms
                                                      5   have the following meanings:
                                                      6                 a.   Pursuant to FRCP 26(c)(1)(G) and Cal. Civil Code §§ 3426, et
                                                      7   seq., “Confidential Information” shall mean trade secrets or other confidential
                                                      8   research, development, or commercially sensitive business information, the
                                                      9   disclosure of which would cause competitive harm, that is contained in Protected
                                                     10   Documents, and which have not been or made available to the public.
                                                     11                 b.   “Customer” shall mean any person or entity that purchases or
                     LOS ANGELES, CALIFORNIA 90071
                       333 SOUTH GRAND AVENUE
DYKEMA GOSSETT LLP




                                                     12   otherwise comes to possess Defendant’s product.
                              SUITE 2100




                                                     13                 c.   “Designating Party” shall mean the Party or non-party designating
                                                     14   Discovery Material as “Confidential.”
                                                     15                 d.   “Discovery Materials” shall mean and include, without limitation,
                                                     16   Documents, including Electronically Stored Information (ESI), responses to
                                                     17   interrogatories, requests for admissions, or other discovery requests, physical objects,
                                                     18   samples, CD-ROMs, tapes or other items, deposition transcripts and exhibits thereto,
                                                     19   and information provided by or on behalf of the Parties or any non- party witness
                                                     20   pursuant to subpoena or otherwise in the course of discovery.
                                                     21                 e.   “Document” shall mean and include, without limitation, all
                                                     22   written material, videotapes and all other tangible items, produced in whatever format
                                                     23   (e.g., hard copy, electronic, digital, etc.) and on whatever media (e.g., hard copy,
                                                     24   videotape, computer diskette, CD-ROM, DVD, hard drive or otherwise) defined as
                                                     25   broadly as permitted under FRCP 34.
                                                     26                 f.   “Party” or “Parties” shall mean and include the parties to this
                                                     27   litigation.
                                                     28
                                                                                                       3
                                                                                        STIPULATION FOR PROTECTIVE ORDER;
                                                                                          [PROPOSED] PROTECTIVE ORDER
                                                     Case 2:12-cv-08388-AB-FFM Document 48 Filed 06/14/13 Page 4 of 13 Page ID #:308



                                                      1                g.     “Pleadings” shall mean and include, without limitation, all papers,
                                                      2   motions, briefs, affidavits, declarations, exhibits, etc., filed with the Court.
                                                      3                h.     “Protected Documents” shall mean documents to be produced in
                                                      4   this litigation which contain Confidential Information.
                                                      5         3.     Designating Confidential Information.
                                                      6                a.     All designations of Confidential Information shall be made in
                                                      7   good faith by the Designating Party and made at the time of disclosure, production, or
                                                      8   tender.
                                                      9                b.     The designation of Confidential Information may be made by
                                                     10   marking or placing the applicable notice “Subject to Protective Order,”
                                                     11   “Confidential,” or substantially similar notice, on the document, or, where a copy of
                     LOS ANGELES, CALIFORNIA 90071
                       333 SOUTH GRAND AVENUE
DYKEMA GOSSETT LLP




                                                     12   the original document is to be produced, on that copy.
                              SUITE 2100




                                                     13                c.     Any document or any information designated as “Subject to
                                                     14   Protective Order,” “Confidential,” or similar language in accordance with the
                                                     15   provisions of this Order shall only be used, shown or disclosed as provided in this
                                                     16   Order.
                                                     17                d.     The burden of proving that a Protected Document contains
                                                     18   Confidential Information is on the Designating Party.              Prior to designating any
                                                     19   material as “Confidential,” the Designating Party must make a bona fide
                                                     20   determination that the material is, in fact, a trade secret or other confidential research,
                                                     21   development, or commercial information pursuant to FRCP 26(c)(1)(G).
                                                     22                e.     If a Party disagrees with the “Confidential” designation of any
                                                     23   Protected Document, the party will so notify the Designating Party in writing.
                                                     24   Counsel shall confer in good faith in an effort to resolve any dispute concerning such
                                                     25   designation or redaction. The Parties shall follow the procedures set forth in Central
                                                     26   District of California Local Rule 37 governing discovery disputes to resolve whether
                                                     27   the Confidential Information should be treated as “Confidential.” If the objection
                                                     28   cannot be resolved by agreement, the Designating Party shall file and serve a motion
                                                                                                        4
                                                                                         STIPULATION FOR PROTECTIVE ORDER;
                                                                                            [PROPOSED] PROTECTIVE ORDER
                                                     Case 2:12-cv-08388-AB-FFM Document 48 Filed 06/14/13 Page 5 of 13 Page ID #:309



                                                      1   to retain confidentiality. The document or information whose “Confidential”
                                                      2   designation or redaction is objected to shall continue to be treated as “Confidential,”
                                                      3   as applicable, until the motion has been decided by the Court.
                                                      4         4.      Use and Disclosure of Protected Documents.
                                                      5                 a.        Protected Documents and any copies thereof received pursuant
                                                      6   to this Protective Order shall be maintained Confidential by the receiving party,
                                                      7   his/her attorney, other representatives, and expert witnesses, and shall be used only
                                                      8   for purposes of this action, subject to the limitations set forth herein. The persons or
                                                      9   entities identified in Paragraph 4(b)(i)-(ix) below to whom Protected Documents are
                                                     10   disclosed pursuant to this Order shall keep all such materials and information, and
                                                     11   any copies, notes, extracts, summaries, or descriptions of such material, within their
                     LOS ANGELES, CALIFORNIA 90071
                       333 SOUTH GRAND AVENUE
DYKEMA GOSSETT LLP




                                                     12   exclusive possession and control, shall treat all such copies, notes, extracts,
                              SUITE 2100




                                                     13   summaries, or descriptions of the Protected Documents or any portion thereof as
                                                     14   Confidential, shall take all necessary and prudent measures to maintain the
                                                     15   confidentiality of all such materials or information, and shall not disseminate such
                                                     16   Protected Documents other than in accordance with this Order.
                                                     17                 b.        Protected Documents shall be disclosed only to “Qualified
                                                     18   Persons.” Qualified Persons are limited to:
                                                     19              i. The Court and its personnel;
                                                     20              ii. The Parties to this litigation;
                                                     21              iii. Counsel of record in this litigation, as well as paralegals, technical,
                                                     22                 administrative and clerical employees working under the direct
                                                     23                 supervision of such counsel;
                                                     24              iv. Experts and non-attorney consultants retained by the Parties for the
                                                     25                 preparation or trial of this case, provided that no disclosure shall be
                                                     26                 made to any expert or consultant who is currently employed by an
                                                     27                 automobile manufacturer competitor of Ford (unless both Parties consent
                                                     28                 to the disclosure):
                                                                                                           5
                                                                                          STIPULATION FOR PROTECTIVE ORDER;
                                                                                              [PROPOSED] PROTECTIVE ORDER
                                                     Case 2:12-cv-08388-AB-FFM Document 48 Filed 06/14/13 Page 6 of 13 Page ID #:310



                                                      1              v. A potential, anticipated or actual fact witness whom counsel for the
                                                      2                 disclosing Party believes in good faith is likely to have knowledge
                                                      3                 pertaining to the content of the Protected Documents to be disclosed;
                                                      4              vi. The author(s) or any recipient of the document;
                                                      5              vii. Litigation support consultants and vendors who provide litigation
                                                      6                 support services (e.g., photocopying, electronic discovery, videotaping,
                                                      7                 translating, preparing exhibits or demonstrations, etc.);
                                                      8              viii. Court reporters recording and/or transcribing deposition testimony; and
                                                      9              ix. Any person expressly named and agreed to in writing by the Parties or
                                                     10                 by further Order of the Court.
                                                     11                 c.      While the Parties may provide Protected Documents in
                     LOS ANGELES, CALIFORNIA 90071
                       333 SOUTH GRAND AVENUE
DYKEMA GOSSETT LLP




                                                     12   accordance with the provisions of this Protective Order in an electronic form, such
                              SUITE 2100




                                                     13   documents may not be posted on any website or internet accessible document
                                                     14   repository that is accessible to anyone other than “Qualified Persons” listed above.
                                                     15                 d.      All persons described in Paragraph 4(b)(i)-(viii) above shall not
                                                     16   under any circumstance sell, offer for sale, advertise, or publicize either the Protected
                                                     17   Documents and the Confidential information contained therein or the fact that such
                                                     18   persons have obtained Protected Documents and Confidential Information.
                                                     19                 e.      All persons described in Paragraphs 4(b)(iv), (v) and (vii) above
                                                     20   shall not have access to Protected Documents without having first read,
                                                     21   acknowledged, and agreed to be bound by this Order by executing the Agreement to
                                                     22   be Bound attached as Exhibit A (the “Agreement to be Bound”).
                                                     23         5.      Each Party’s counsel shall retain each such executed Agreement to be
                                                     24   Bound and shall keep a list identifying (a) all persons referenced in Paragraphs
                                                     25   4(b)(iv), (v) and (vii) above to whom Protected Documents have been disclosed, and
                                                     26   (b) all Protected Documents disclosed to such persons. Each executed Agreement to
                                                     27   be Bound shall not be made available to the Designating Party during the pendency of
                                                     28   the litigation but shall be available for an in camera inspection by the Court if good
                                                                                                        6
                                                                                         STIPULATION FOR PROTECTIVE ORDER;
                                                                                           [PROPOSED] PROTECTIVE ORDER
                                                     Case 2:12-cv-08388-AB-FFM Document 48 Filed 06/14/13 Page 7 of 13 Page ID #:311



                                                      1   cause for review is demonstrated by the Designating Party. During the pendency of
                                                      2   the litigation or after the termination of the litigation, subject to the attorney work-
                                                      3   product doctrine/attorney-client privilege and for good cause shown, the Court may
                                                      4   order any party to provide to the Designated Party the list referenced above and any
                                                      5   executed Agreement to be Bound.
                                                      6         6.     Designation of Deposition Testimony.
                                                      7                a.       Deposition testimony that counsel for the Party or non-party
                                                      8   witness tendering such testimony, in good faith, believes refers to Protected
                                                      9   Documents      or   information     obtained       therefrom       shall   be   designated   as
                                                     10   “CONFIDENTIAL,” as applicable, by such counsel by making a statement on the
                                                     11   record for inclusion in the deposition transcript or, in writing, within thirty (30)
                     LOS ANGELES, CALIFORNIA 90071
                       333 SOUTH GRAND AVENUE
DYKEMA GOSSETT LLP




                                                     12   calendar days after receipt of the transcript.
                              SUITE 2100




                                                     13                b.       When Protected Documents or information obtained therefrom
                                                     14   is designated as confidential in a deposition transcript, the counsel making the
                                                     15   designation shall instruct the reporter to imprint the legend “THIS TRANSCRIPT
                                                     16   CONTAINS CONFIDENTIAL INFORMATION” on the cover page of the transcript
                                                     17   and to include, at the front of the transcript, a page identifying all pages and lines
                                                     18   designated “CONFIDENTIAL” in the transcript.
                                                     19                c.       To the extent that Protected Documents or information obtained
                                                     20   therefrom are used in the taking of depositions and/or used as exhibits at trial, such
                                                     21   documents or information shall remain subject to the provisions of this Order, along
                                                     22   with the transcript pages of the deposition testimony and/or trial testimony dealing
                                                     23   with the Protected Documents or information.
                                                     24                d.       Any court reporter or transcriber who reports or transcribes
                                                     25   testimony in this action shall agree that all Confidential Information designated as
                                                     26   such under this Order shall remain Confidential and shall not be disclosed by them,
                                                     27   except pursuant to the terms of this Order, and that any notes or transcriptions of such
                                                     28
                                                                                                         7
                                                                                         STIPULATION FOR PROTECTIVE ORDER;
                                                                                            [PROPOSED] PROTECTIVE ORDER
                                                     Case 2:12-cv-08388-AB-FFM Document 48 Filed 06/14/13 Page 8 of 13 Page ID #:312



                                                      1   testimony (and any accompanying exhibits) will be retained by the reporter or
                                                      2   delivered to counsel of record.
                                                      3          7.     Filing Under Seal.       If any party wishes to file or lodge Protected
                                                      4   Documents with the Court, that party must provide the producing party with written
                                                      5   notice that the Protected Documents will be placed in the public court file unless the
                                                      6   producing party files a timely motion or application to seal the records under Local
                                                      7   Rule 79-5. Within ten (10) days of this notification, the producing party may file a
                                                      8   motion or application for an order sealing the Protected Documents. Pending
                                                      9   determination of the motion or application, the lodged document(s) will be
                                                     10   conditionally under seal. Until such time as the Court issues an order sealing the
                                                     11   Protected Documents, the party seeking to use the Protected Documents may refer
                     LOS ANGELES, CALIFORNIA 90071
                       333 SOUTH GRAND AVENUE
DYKEMA GOSSETT LLP




                                                     12   only to a redacted version. Upon granting of an order sealing the record, the
                              SUITE 2100




                                                     13   Protected Documents will be sealed and labeled by the court clerk according to Local
                                                     14   Rule 79-5.. Upon denial of such an order, the documents may be filed in the public
                                                     15   court file.
                                                     16          8.     Return and Destruction of Protected Documents. Within ninety (90)
                                                     17   days after the conclusion of this case, counsel for the Party who has received
                                                     18   Protected Documents shall either: (a) return to the Designating Party the Protected
                                                     19   Documents, including any documents which any such Party disclosed to any
                                                     20   Qualified Person, or (b) securely destroy the Protected Documents, including any
                                                     21   documents which any such Party disclosed to any Qualified Person, and certify in
                                                     22   writing such destruction to the Designating Party.
                                                     23          9.     Inadvertent Production.
                                                     24                 a.   Inadvertent or unintentional production of documents or
                                                     25   information containing information which should have been designated as
                                                     26   Confidential shall not be deemed a waiver in whole or in part of the Party's claims of
                                                     27   confidentiality. If a Party has inadvertently or unintentionally produced information
                                                     28   which should have been designated as Confidential, the producing Party will notify
                                                                                                        8
                                                                                        STIPULATION FOR PROTECTIVE ORDER;
                                                                                            [PROPOSED] PROTECTIVE ORDER
                                                     Case 2:12-cv-08388-AB-FFM Document 48 Filed 06/14/13 Page 9 of 13 Page ID #:313



                                                      1   the receiving Party within twenty-one (21) days of discovery of the inadvertent
                                                      2   production and request that the Confidential designation be applied to such
                                                      3   documents or information. If a receiving party objects to the producing Party’s
                                                      4   Confidentiality designation, it will notify the producing Party of its objections in
                                                      5   writing within seven (7) business days of receipt of the notification described above.
                                                      6   Within seven (7) business days, the producing Party may then move the Court for an
                                                      7   order compelling the protection of such information. Pending the Court’s ruling, a
                                                      8   receiving Party agrees to maintain the documents as Confidential under the terms of
                                                      9   this Order.
                                                     10                 b.   Inadvertent or unintentional production of documents or
                                                     11   information containing information which should have been designated as privileged
                     LOS ANGELES, CALIFORNIA 90071
                       333 SOUTH GRAND AVENUE
DYKEMA GOSSETT LLP




                                                     12   shall not be deemed a waiver in whole or in part of the Party’s claims of privilege.
                              SUITE 2100




                                                     13   Pursuant to Fed. R. Evid. 502(b)-(d), if a Party has inadvertently or unintentionally
                                                     14   produced information subject to a claim of immunity or privilege, upon written
                                                     15   request made by the producing Party within twenty-one (21) days of discovery, all
                                                     16   copies of such information shall be returned to the producing Party within seven (7)
                                                     17   business days of such request unless the receiving party intends to challenge the
                                                     18   producing Party’s assertion of privilege or immunity. If a receiving party objects to
                                                     19   the return of such information within the seven (7) business day period described
                                                     20   above, the producing Party may move the Court for an order compelling the return of
                                                     21   such information. Pending the Court’s ruling, a receiving Party may sequester the
                                                     22   inadvertently or unintentionally produced documents in a sealed envelope and shall
                                                     23   not make any use of such information.
                                                     24         10.     Right to Use Own Information. Nothing in this Order shall limit any
                                                     25   Party’s right to disclose to any person, or use for any purpose, its own information
                                                     26   and documents
                                                     27
                                                     28
                                                                                                      9
                                                                                       STIPULATION FOR PROTECTIVE ORDER;
                                                                                         [PROPOSED] PROTECTIVE ORDER
                                                 Case 2:12-cv-08388-AB-FFM Document 48 Filed 06/14/13 Page 10 of 13 Page ID #:314



                                                     1          11.    Subpoena or Order. If a Party is served with a subpoena or an order
                                                     2    issued in other litigation that would compel disclosure of any information or items
                                                     3    designated in this action as Confidential, counsel for the receiving Party must
                                                     4    promptly notify counsel for the Designating Party in writing, and in no event, more
                                                     5    than five (5) business days after receiving the subpoena or order. Counsel for the
                                                     6    receiving Party also must inform, in writing, the Party who caused the subpoena or
                                                     7    order to issue in the other litigation that some or all the material covered by the
                                                     8    subpoena or order is the subject of this Order.
                                                     9          12.    Non-Party Discovery. Any documents or information produced by a
                                                     10   non-party witness in discovery in the action pursuant to subpoena or otherwise may
                                                     11   be designated by such non-party as “Confidential” under the terms of this Order, and
                     LOS ANGELES, CALIFORNIA 90071
                       333 SOUTH GRAND AVENUE
DYKEMA GOSSETT LLP




                                                     12   such designation shall have the same force and effect, and create the same duties,
                              SUITE 2100




                                                     13   obligations, and remedies as if made by one of the parties hereto.
                                                     14         13.    Modification. This Protective Order may not be waived, modified,
                                                     15   abandoned or terminated, in whole or part, except by an instrument in writing signed
                                                     16   by the Parties (no such change shall have the effect of a court order unless
                                                     17   approved by the Court) (FFM) or pursuant to further Court Order. If any provision
                                                     18   of this Protective Order shall be held invalid for any reason whatsoever, the
                                                     19   remaining provisions shall not be affected thereby.
                                                     20         14.    Duration. After termination of this litigation, the provisions of this
                                                     21   Order shall continue to be binding. This Court retains and shall have jurisdiction
                                                     22   over the parties and recipients of the Protected Documents for enforcement of the
                                                     23   provisions of this Order following termination of this litigation.
                                                     24
                                                     25
                                                     26
                                                     27
                                                     28
                                                                                                       10
                                                                                        STIPULATION FOR PROTECTIVE ORDER;
                                                                                           [PROPOSED] PROTECTIVE ORDER
                                                 Case 2:12-cv-08388-AB-FFM Document 48 Filed 06/14/13 Page 11 of 13 Page ID #:315



                                                     1          This Protective Order shall be binding upon the parties hereto, upon their
                                                     2    attorneys, and upon the Parties’ and their attorneys’ successors, executors, personal
                                                     3    representatives, administrators, heirs, legal representatives, assigns, subsidiaries,
                                                     4    divisions, employees, agents, independent contractors, or other persons or
                                                     5    organizations over which they have control.
                                                     6          IT IS SO ORDERED.
                                                     7
                                                          Dated: June 14, 2013                     By: /S/ FREDERICK F. MUMM
                                                     8                                               Frederick F. Mumm
                                                                                                     United States Magistrate Judge
                                                     9
                                                     10
                                                          Approved as to form and content and respectfully submitted by:
                                                     11
                     LOS ANGELES, CALIFORNIA 90071
                       333 SOUTH GRAND AVENUE
DYKEMA GOSSETT LLP




                                                     12   Dated: June 5, 2013                      DYKEMA GOSSETT LLP
                              SUITE 2100




                                                     13
                                                     14                                            By: /s/ Tamara A. Bush
                                                                                                     John M. Thomas
                                                     15                                              Tamara A. Bush
                                                                                                     Attorneys for Defendant
                                                     16                                              Ford Motor Co.
                                                     17                                            CAPSTONE LAW APC
                                                     18
                                                                                                   By: /s/ David L. Cheng
                                                     19                                              Jordan L. Lurie
                                                                                                     David L. Cheng
                                                     20                                              Tarek H. Zohdv
                                                                                                     Cody R. Padgett
                                                     21                                              Attorneys for Plaintiff
                                                                                                     Omar Vargas
                                                     22
                                                     23
                                                     24
                                                     25
                                                     26
                                                     27
                                                     28
                                                                                                      11
                                                                                       STIPULATION FOR PROTECTIVE ORDER;
                                                                                         [PROPOSED] PROTECTIVE ORDER
                                                 Case 2:12-cv-08388-AB-FFM Document 48 Filed 06/14/13 Page 12 of 13 Page ID #:316



                                                      1   CAPSTONE LAW APC
                                                          Jordan L. Lurie (SBN 130013)
                                                      2   Jordan.Lurie@capstonelawyers.com
                                                          David L. Cheng (SBN 240926)
                                                      3   David.Cheng@capstonelawyers.com
                                                          Tarek H. Zohdy (SBN 247775)
                                                      4   Tarek.Zohdy@capstonelawyers.com
                                                          Cody R. Padgett (SBN 275553)
                                                      5   Cody.Padgett@capstonelawyers.com
                                                          1840 Century Park East, Suite 450
                                                      6   Los Angeles, California 90067
                                                          Tele: (310) 556-4811 / Fax: (310) 943-0396
                                                      7
                                                          Attorneys for Plaintiff
                                                      8
                                                          DYKEMA GOSSETT LLP
                                                      9   John M. Thomas (266842)
                                                          jthomas@dykema.com
                                                     10   Tamara A. Bush (197153)
                                                          tbush@dykema.com
                                                     11   Krista L. Lenart (admitted pro hac vice)
                     LOS ANGELES, CALIFORNIA 90071




                                                          klenart@dykema.com
                       333 SOUTH GRAND AVENUE
DYKEMA GOSSETT LLP




                                                     12   David M. George (admitted pro hac vice)
                                                          dgeorge@dykema.com
                              SUITE 2100




                                                     13   333 South Grand Avenue, Suite 2100
                                                          Los Angeles, CA 90071
                                                     14   Tele: (213) 457-1800 / Fax: (213) 457-1850
                                                     15   Attorneys for Defendant
                                                          FORD MOTOR COMPANY
                                                     16

                                                     17                              UNITED STATES DISTRICT COURT
                                                     18            CENTRAL DISTRICT OF CALIFORNIA—WESTERN DIVISION
                                                     19   OMAR VARGAS, individually, and on                  Case No.: 2:12-cv-08388 ABC (FFMx)
                                                          behalf of a class of similarly situated
                                                     20   individuals,                                       Honorable Judge Audrey B. Collins
                                                     21                 Plaintiff,                           Magistrate Judge Frederick F. Mumm
                                                     22                                                      CLASS ACTION
                                                                 v.
                                                     23                                                      DISCOVERY MATTER
                                                          Ford Motor Company,
                                                     24                                                      AGREEMENT TO BE BOUND
                                                                                                             (EXHIBIT A TO PROTECTIVE
                                                     25                 Defendant.                           ORDER)
                                                     26
                                                                        I, ____________________________________ [print or type full name], of
                                                     27
                                                          __________________________________________________ [print or type full address],
                                                     28
                                                          declare under penalty of perjury that I have read in its entirety and understand the Protective

                                                                                 AGREEMENT TO BE BOUND (EXHIBIT A TO PROTECTIVE ORDER)
                                                 Case 2:12-cv-08388-AB-FFM Document 48 Filed 06/14/13 Page 13 of 13 Page ID #:317



                                                     1    Order that was issued by the United States District Court for the Central District of
                                                     2    California on _________________ [date] in the above-captioned case.
                                                     3           I agree to comply with and to be bound by all the terms of this Protective Order, and
                                                     4    I understand and acknowledge that failure to so comply could expose me to sanctions and
                                                     5    punishment in the nature of contempt I solemnly promise that I will not disclose in any
                                                     6    manner any information or item that is subject to this Protective Order to any person or
                                                     7    entity except in strict compliance with the provisions of this Order. I further agree to submit
                                                     8    to the jurisdiction of the United States District Court for the Central District of California
                                                     9    for the purpose of enforcing the terms of this Protective Order, even if such enforcement
                                                     10   proceedings occur after termination of this action.
                                                     11
                     LOS ANGELES, CALIFORNIA 90071
                       333 SOUTH GRAND AVENUE
DYKEMA GOSSETT LLP




                                                     12   Date: ________________
                              SUITE 2100




                                                     13   City and State where signed: __________________________________
                                                     14
                                                                                                       Signature:
                                                     15
                                                                                                       Printed name:
                                                     16
                                                     17
                                                                                                       [Address]
                                                     18
                                                     19
                                                     20
                                                                                                       [Telephone Number]
                                                     21
                                                     22
                                                     23
                                                     24
                                                     25
                                                     26
                                                     27
                                                     28

                                                                                                           2
                                                                                  AGREEMENT TO BE BOUND (EXHIBIT A TO PROTECTIVE ORDER)
